Case 2:04-cv-09049-DOC-RNB Document 4316-8 Filed 09/30/08 Page 1 of 6 Page ID
                                #:110058
Case 2:04-cv-09049-DOC-RNB Document 4316-8 Filed 09/30/08 Page 2 of 6 Page ID
                                #:110059
Case 2:04-cv-09049-DOC-RNB Document 4316-8 Filed 09/30/08 Page 3 of 6 Page ID
                                #:110060
Case 2:04-cv-09049-DOC-RNB Document 4316-8 Filed 09/30/08 Page 4 of 6 Page ID
                                #:110061
Case 2:04-cv-09049-DOC-RNB Document 4316-8 Filed 09/30/08 Page 5 of 6 Page ID
                                #:110062
Case 2:04-cv-09049-DOC-RNB Document 4316-8 Filed 09/30/08 Page 6 of 6 Page ID
                                #:110063
